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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 FRACTAL ANALYTICS, INC.,

       Plaintiff,

 v.                                                  Civil Action No. 1:19-cv-1051

 FRACTALANALYTICSINC.COM and
 FRACTAL-ANALYTICS.COM, Internet
 domain names,

       Defendants.


                                         COMPLAINT

       Plaintiff Fractal Analytics, Inc., by counsel, alleges as follows for its in rem Complaint

against Defendants FractalAnalyticsInc.com and Fractal-Analytics.com (collectively, the

“Defendant Domain Names”).

                                    NATURE OF THE SUIT

       1.      This is an in rem action for cybersquatting under the Federal Anti-Cybersquatting

Consumer Protection Act, 15 U.S.C. § 1125(d).

                                           PARTIES

       2.      Fractal Analytics, Inc. (hereinafter “Fractal Analytics”) is a corporation organized

and existing under the laws of New York with a principal business address of 1 World Trade

Center, Suite 76J, New York, NY 10007.

       3.      Fractal Analytics was founded in 2000, and is an analytic company providing

information and consultancy services to organizations for data-driven decision-making.

       4.      FractalAnalyticsInc.com is an internet domain name which, according to records

in the WHOIS database of domain name registrations, is registered by the registrar NameCheap,
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Inc. to an unknown registrant. The registrant is listed only as “WhoisGuard Protected,” and, on

information and belief, is intentionally concealing his/her/its identity through the registrar and/or

use of a privacy service.          A copy of the domain name registration record for

FractalAnalyticsInc.com is attached as Exhibit A.

       5.        Fractal-Analytics.com is an internet domain name which, according to records in

the WHOIS database of domain name registrations, is registered by the registrar Domain.com

LLC to an unknown registrant. The registrant is listed only as “REDACTED FOR PRIVACY,”

and, on information and belief, is intentionally concealing his/her/its identity through the

registrar and/or use of a privacy service. A copy of the domain name registration record for

Fractal-Analytics.com is attached as Exhibit B.

                          JURISDICTION, VENUE, AND JOINDER

       6.        This is a civil action for federal cybersquatting in violation of the Anti-

Cybersquatting Consumer Protection Act, 15 U.S.C. § 1125(d).

       7.        This Court has original jurisdiction under 15 U.S.C. § 1121(a) and 28 U.S.C. §§

1331 and 1338(a).

       8.        This Court has in rem jurisdiction over the Defendant Domain Names pursuant to

15 U.S.C. § 1125(d)(2)(A).          In rem jurisdiction is appropriate under 15 U.S.C. §

1125(d)(2)(A)(ii) because the listed registrants of the Defendant Domain Names are being

concealed by the registrars and/or privacy services, and therefore Plaintiff cannot obtain in

personam jurisdiction over a person who would have been a defendant in a civil action under 15

U.S.C. § 1125(d)(1)(A), and/or Fractal Analytics, despite its due diligence, has been unable to

find a person who would have been a defendant in a civil action under 15 U.S.C. §

1125(d)(1)(A).




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       9.      Pursuant to 15 U.S.C. § 1125(d)(2)(A)(ii)(II)(aa), Fractal Analytics will give

notice of the violations of Fractal Analytics’ rights, and Fractal Analytics’ intent to proceed in

rem, to the postal and e-mail addresses set forth in the registration records for the Defendant

Domain Names.

       10.     Venue is proper in this District pursuant to 15 U.S.C. § 1125(d)(2)(C) in that the

.COM domain name registry operator, VeriSign, Inc., is situated in this judicial District, and the

Defendant Domain Names are .COM domain names.

       11.     Joinder of the Defendant Domain Names is proper under Fed. R. Civ. P. 20(a)(2)

in that the in rem cybersquatting claims set forth herein arise out of the same series of

transactions and the same questions of law are common to both of the Defendant Domain

Names.

       12.     The registration records for FractalAnalyticsInc.com and Fractal-Analytics.com

show that these two highly similar domain names were registered for the first time within three

days of one another, and are both registered to a party concealing his/her/its identity and who has

not responded to Fractal Analytics’ pre-suit correspondence. On information and belief, the

same unknown party registered and currently owns both Defendant Domain Names.

                             FRACTAL ANALYTICS’ RIGHTS

       13.     Fractal Analytics was founded in 2000 to provide strategic analytic services to

companies around the world, offering, inter alia, data transformation and delivery services,

predictive analytics solutions, valuation management, and various other business-oriented

software solutions.

       14.     Since its founding, Fractal Analytics has used the FRACTAL, FRACTAL

ANALYTICS, and FRACTAL formative marks around the world, including in the United States,




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in association with software development, data analytics, and related services (collectively the

“FRACTAL ANALYTICS Marks”).

       15.    Fractal Analytics advertises its services through, inter alia, its website, at

FractalAnalytics.com and Fractal.ai.

       16.    The FRACTAL word mark is also registered on the Principal Trademark Register

of the U.S. Patent and Trademark Office under registration number 4934960. See Exhibit C.

       17.    The FRACTAL design mark is also registered on the Principal Trademark

Register of the U.S. Patent and Trademark Office under registration number 4944078. See

Exhibit D.

       18.    The FRACTAL ANALYTICS mark is also registered on the Principal Trademark

Register of the U.S. Patent and Trademark Office under registration number 4934961. See

Exhibit E.

       19.    The FRACTAL design mark is also registered on the Principal Trademark

Register of the U.S. Patent and Trademark Office under registration number 5605981. See

Exhibit F.

       20.    The FRACTAL INTELLIGENCE FOR IMAGINATION design mark is also

registered on the Principal Trademark Register of the U.S. Patent and Trademark Office under

registration number 5605982. See Exhibit G.

       21.    Fractal Analytics’ federal registrations for the FRACTAL ANALYTICS Marks

are prima facie evidence of the validity of the marks, of Fractal Analytics’ ownership of the

marks, and of Fractal Analytics’ exclusive right to use the marks in U.S. commerce.

       22.    Fractal Analytics has previously taken action to protect its customers and the

FRACTAL ANALYTICS Marks, and this Court has recognized the validity and distinctiveness




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of the FRACTAL ANALYTICS Marks. See Fractal Analytics, Inc. v. FractalAnalyticsPro.com,

18-cv-00853-CMH-MSN [Doc. 22] (E.D. Va. Jan. 23, 2019) (entering judgment in favor of

Fractal Analytics on ACPA claim).

           UNLAWFUL REGISTRATION AND USE OF THE DOMAIN NAMES

        23.      The FractalAnalyticsInc.com domain name is merely Fractal Analytics’ registered

FRACTAL ANALYTICS mark with “Inc.” added to the end.

        24.      Upon information and belief, the FractalAnalyticsInc.com domain name was first

registered on June 17, 2019.

        25.      The Fractal-Analytics.com domain name is merely Fractal Analytics’ registered

FRACTAL ANALYTICS mark with a hyphen, rather than a space, between the two terms.

        26.      Upon information and belief, the Fractal-Analytics.com domain name was first

registered on June 20, 2019.

        27.      The uses of the FRACTAL ANALYTICS Marks within the Defendant Domain

Names are without authorization from Fractal Analytics.

        28.      Upon information and belief, the registrant(s) of the Defendant Domain Names do

not have any trademark or other intellectual property rights in the Defendant Domain Names.

        29.      Upon information and belief, the Defendant Domain Names do not consist of the

legal name(s) of the registrant(s) or name(s) that are otherwise commonly used to identify the

registrant(s).

        30.      Upon information and belief, the registrant(s) never made bona fide

noncommercial or fair use of the FRACTAL ANALYTICS Marks in a site accessible under

Defendant Domain Names.




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       31.     At present, no websites are accessible under either of the Defendant Domain

Names.

       32.     Upon information and belief, the registrant(s) of the Defendant Domain Names

have not engaged in a bona fide offering of any good or services in connection with the

FRACTAL ANALYTICS Marks in any websites accessible under the Defendant Domain

Names.

       33.     Upon information and belief, the registrant(s) of the Defendant Domain Names

registered the Defendant Domain Names with intent to divert consumers away from Fractal

Analytics’ legitimate online locations, for commercial gain, by creating a likelihood of confusion

as to the source, sponsorship, affiliation, or endorsement of the Defendant Domain Names.

       34.     Upon information and belief, the registrant(s) of the Defendant Domain Names

provided material and misleading false contact information when applying for and maintaining

the registration of the Defendant Domain Names in that the registrant(s) of the Defendant

Domain Names are concealing their identity from the public whois record for the Defendant

Domain Names.

       35.     The registrant(s) of the Defendant Domain Names are unknown because the

registrars and/or privacy services are concealing such information.

       36.     Upon information and belief, the use of the FRACTAL ANALYTICS Marks in

the Defendant Domain Names does not constitute the registrant(s)’ individual name(s), or the

individual name of anyone in privity with registrant(s), or of a term or device which is

descriptive of and used fairly and in good faith only to describe the goods or services of

registrant, or their geographic origin.




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                                       COUNT ONE:
          (Violation of the Federal Anti-Cybersquatting Consumer Protection Act)

       37.     Fractal Analytics repeats and realleges each and every allegation set forth in the

foregoing paragraphs, as though fully set forth herein.

       38.     Fractal Analytics’ federally-registered FRACTAL ANALYTICS Marks are

famous and/or distinctive and were famous and/or distinctive prior to the time of registration of

the Defendant Domain Names.

       39.     The aforesaid acts by the registrant(s) of the Defendant Domain Names constitute

registration, maintenance, trafficking in, and/or use of domain names that are confusingly similar

to the Fractal Analytics’ FRACTAL ANALYTICS Marks, with bad faith intent to profit

therefrom.

       40.     In light of the concealment of the identity of the owners of the Defendant Domain

Names, Fractal Analytics is not able to obtain in personam jurisdiction over the registrant(s) of

the Defendant Domain Names or any other person who would have been a defendant in a civil

action under 15 U.S.C. § 1125(d)(1)(A).

       41.     Fractal Analytics, despite its due diligence, has been unable to find a person who

would have been a defendant in a civil action under 15 U.S.C. § 1125(d)(1)(A).

       42.     The aforesaid acts by the registrant(s) of the Defendant Domain Names constitute

unlawful cyberpiracy in violation of the Anti-Cybersquatting Consumer Protection Act, 15

U.S.C. § 1125(d)(1).

       43.     The aforesaid acts have caused, and are causing, great and irreparable harm to

Fractal Analytics and the public. The harm to Fractal Analytics includes harm to the value and

goodwill associated with the FRACTAL ANALYTICS Marks that money cannot compensate.

Unless permanently restrained and enjoined by this Court, said irreparable harm will continue.



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       44.     Pursuant to 15 U.S.C. § 1125(d)(2)(D)(i), Fractal Analytics is entitled to an order

transferring the Defendant Domain Names to Fractal Analytics.

                                     PRAYER FOR RELIEF

       WHEREFORE, Fractal Analytics respectfully requests of this Court:

       1.      That judgment be entered in favor of Fractal Analytics on its claim of

cybersquatting;

       2.      That the Court order the Defendant Domain Names be transferred to Fractal

Analytics through transfer by VeriSign, Inc. of the Defendant Domain Names from the current

domain name registrars to Fractal Analytics’ domain name registrar of choice and by such

registrar’s change of the registrant to Fractal Analytics;

       3.      That any other domain name(s) registered by the registrant(s) of the Defendant

Domain Names that resemble or include the FRACTAL ANALYTICS Marks be transferred to

Fractal Analytics;

       4.      That the Court order an award of costs and reasonable attorneys’ fees incurred by

Fractal Analytics in connection with this action, pursuant to 15 U.S.C. § 1117(a); and

       5.      That the Court order an award to Fractal Analytics of such other and further relief

as the Court may deem just and proper.




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    Dated: August 9, 2019   By:     /s/ Attison L. Barnes, III /s/
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